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                     IN THE UNITED STATES DISTRICT COURT

                     FOR THE DISTRICT OF SOUTH CAROLINA

                                  FLORENCE DIVISION


DHD Jessamine, LLC,                         )   Civil Action Number: 4:22-cv-01235-JD
                                            )
                Plaintiff,                  )
                                            )
v.                                          )
                                            )
Florence County, South Carolina; Frank J.   )
Brand; Jason Springs; Roger M. Poston;      )
Alphonso Bradley; Jerry W. Yarborough;      )
Stoney C. Moore; Waymon Mumford;            )
and Willard Dorriety, Jr. as the elected    )
members of the Florence County Council;     )
and John Does 1-15,                         )
                                            )
              Defendants.                   )
_________________________________           )




                              EXHIBIT A
                                            to
                        MOTION TO DISMISS OR, IN
                        THE ALTERNATIVE, FOR A
                       MORE DEFINITE STATEMENT



                     PARKINS ORDER
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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF SOUTH CAROLINA
                               SPARTANBURG DIVISION

Matthew Thomas Parkins, by and through       )
Andrew Turner, his next of friend and        )
Guardian ad Litem, and Matt Parkins,         )
Individually,                                )
                                             )       C.A. No. 7:21-2641-HMH
                      Plaintiffs,            )
                                             )        OPINION & ORDER
               vs.                           )
                                             )
Henry Dargan McMaster, Michael Leach,        )
Robert Kerr, Constance Holloway, South       )
Carolina Department of Social Services       )
(SCDSS), Edward Sexton, Tomekia Means,       )
Calvin Hill, Jane Boe, John Boe, South       )
Carolina Department of Health and Human      )
Services, Joshua Baker, Althea Myers, Jane   )
Doe, John Doe, South Carolina Department     )
of Disabilities and Special Needs,           )
Patrick Maley, Laurens County Disabilities   )
and Special Needs Board, Jan Stevens,        )
John Poe, Jane Poe, Spartanburg Regional     )
Medical Center, Union Medical Center;        )
Paul Newhouse,                               )
Tonya Renee Washington, M.D.,                )
Jan Bradley, John Roe, and Jane Roe,         )
                                             )
                      Defendants.            )

       This matter is before the court on the following motions: (1) motion to dismiss for

failure to state a claim by Defendants Constance Holloway, Robert Kerr, and Michael Leach; (2)

motion to dismiss for failure to state a claim by Defendant Patrick Maley; (3) motion to dismiss

or for a more definite statement by Defendants Joshua Baker, Laurens County Disabilities and

Special Needs Board, Tomekia Means, Althea Myers, South Carolina Department of Disabilities

and Special Needs, South Carolina Department of Health and Human Services, and South

Carolina Department of Social Services; (4) motion to dismiss for failure to state a claim by
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Defendant Governor Henry Dargan McMaster; (5) motion to dismiss or for a more definite

statement by Defendants Jan Bradley, Paul Newhouse, Spartanburg Regional Medical Center,

Union Medical Center, and Tonya Renee Washington; and (6) motion to dismiss or for a more

definite statement by Defendant Calvin Hill.

       The complaint in this action contains 513 single spaced paragraphs, many quite lengthy,

and is 63 pages long.1 (Compl., generally, ECF No. 1-1.) A total of 20 defendants are named,2

including the Governor of the State of South Carolina, various state agencies, current and former

state agency heads, numerous state employees, and medical providers. (Id. 1, ECF No. 1-1.)

Eighteen of the named Defendants have moved to dismiss the complaint or for a more definite

statement. The complaint alleges the following causes of action: (1) violation of the Americans

with Disabilities Act and § 504 of the Rehabilitation Act; (2) violations of 42 U.S.C. § 1983; (3)

common law civil conspiracy; (4) federal conspiracy in violation of 42 U.S.C.

§ 1985; (5) gross neglect; (6) violations of the South Carolina constitution; (7) declaratory

judgment; and (8) unjust enrichment.

       The court has expended a considerable amount of time reviewing the motions, responses,

and complaint in this case, which has been made monumentally more difficult in light of the fact

that the complaint contains an enormous amount of information that is inappropriate in a federal

court complaint.

       Rule 8 of the Federal Rules of Civil Procedure provides, quite simply, that a complaint


       1
       If the complaint had complied with Local Rule 1.05(E) for double-spacing, the
complaint would exceed 120 pages.
       2
        Plaintiffs also listed eight unnamed defendants including: John Doe, Jane Doe, John
Poe, Jane Poe, John Roe, Jane Roe, John Boe, and Jane Boe.

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must contain “a short and plain statement of the claim showing that the pleader is entitled to

relief.” Fed. R. Civ. P. 8(a)(2). This Rule further necessitates that “[e]ach allegation must be

simple, concise, and direct.” Fed. R. Civ. P. 8(d)(1). The complaint in this case is the opposite

of short and plain. Further, it is overly complex and fails to clearly identify with sufficient

specificity which Defendants are involved in each cause of action. See North Carolina v.

McGuirt, No. 04–1305, 04–1306, 2004 WL 2603703 at *3 (4th Cir. Nov. 17, 2004) (per curiam)

(unpublished) (finding complaint failed to comply with Rule 8 where it did “not permit the

defendants to figure out what legally sufficient claim the plaintiffs are making and against whom

they are making it”).

        It appears that there is likely some merit to the various arguments asserted in the motions

to dismiss. However, the court has determined that, at this juncture, the most feasible and

efficient course of action is to require the Plaintiffs to file an amended complaint which

complies with Rule 8 of the Federal Rules of Civil Procedure. Based on the foregoing, the court

denies, without prejudice, the Defendants' motions to dismiss, (ECF Nos. 9, 10, 11, 15, 17, &

23), and instructs the Plaintiffs to file and serve upon defense counsel an amended complaint,

limited to no more than 35 pages in length in compliance with Local Rule 1.05. With respect to

each cause of action asserted, Plaintiffs shall plainly state in the first paragraph the specific

defendants against whom that cause of action is asserted. In addition, evidentiary matters shall




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not be pleaded in the amended complaint. The amended complaint must be filed no later than

twenty (20) days from the date of this order.


       IT IS SO ORDERED.
                                                s/Henry M. Herlong, Jr.
                                                Senior United States District Judge

Greenville, South Carolina
October 6, 2021




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